Case 6:14-cv-06719-FPG-MJP Document 134 Filed 10/21/21 Page 1 of 23

United States District Court
Western District of New York

 

Carlos A. Santiago, et al.,

Plaintiffs,
V. Permission for Expedited Hearing
On Appointment of ProBono Counsel
City of Rochester, et.al. (olY 0

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Defendants. on (* V 0K @O

Dear Honorable Mark W. Pedersen,

We, Carlos A Santiago and Melissa A Laffredo, Plaintiffs, Pro Se In Forma
Pauperis, Are asking if it pleases the court to be granted an expedited hearing in the
matter of our appointment of pro bono counsel. We received a letter informing us that
Mr. Wolford Esq., was going to be our appointed pro bono counsel. We phoned judges
chambers and stated that it was a conflict of interest because his daughter is Elizabeth
Wolford, Chief Judge, in our United States District Court, Western District of New York.
We also spoke with Amanda Williams, Pro Bono Program Administrator, in Buffalo,
New York. She stated that if we had an issue with the attorney we didn't have to sign the
papers for the appointment of counsel, we had until October 21, 2021, which is today to
decide if we agreed to Mr. Wolford as our ProBono counsel. However we received a
letter yesterday which was 20 October 2021 We phoned Ms. Williams immediately
spoke to her in depth regarding the new attorney that is up for the appointment of
Carlos and I for these cases and his name is Roy Mura. We researched Mr. Mura’s
LawFirm and found that there is a gentleman named William Lorenz Jr who does civil
litigation of the sorts, civil rights violations he does have this experience. We asked if we
would be only working with Mr. Mura or we were going to be working with this
gentleman also because he is part of his law firm. we would be going to make a decision
whether or not we were going to sign for the appointment of pro bono counsel, no later
than Nov 15, 2021. Also that letter stated that Mr. Wolford had a conflict of interest with
the defendants which is questionable because we called Ms Williams with the original
statement of conflict of interest. From the beginning with and Now, oh yes, he is no
longer going to be appointed as our attorney, AS HE IS THE ONE NOW WITH THE
CONFLICT OF INTEREST, as Ms Williams stated that Honorable Peterson you yourself
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hand selected Roy Mira spoke to him and then she phoned him and made sure that
there was no conflict THIS TIME, and that he accepted the appointment to be our a pro
bono counsel in these matters and then we phoned Judges Chambers, AGAIN, yesterday
left a message and stated that we had a few questions. We spoke to Nathan this morning
and he called us back and said that he and Ms. Williams do not have ANY say so as to
who we are appointed AND AGAIN OUR question was is that if you, yourself, are
Honorable Pedersen? AND you hand selected Mr. Mura as Carlos and I, OUR pro bono
appointment of counsel then why if and since, he does not have any civil litigation civil
rights background AND?OR one of his law firm members does? and if you were
appointing him to us then we first asked on May 30 of 2019. the first time Carlos had
asked for representation that we were working with Anna Marie Richmond, I spelled her
name wrong and I put Richardson on it is referring to document number 56 in case
number 614 CV 6719 in front of Honorable Feldman prior to you being appointed as the
magistrate, as he did retire., and other documents included was entered into the docket
on September 27, 2019 and then was 59 filed on October 30, 2019 than November 15,
2019 and also our status conference that we spoke, you, Honorable Pedersen, and
Carlos, Melissa, Noone, et al....We are including the testimony from when we spoke and
I had asked for Anna Marie Richmond to be appointed to Carlos and I as pro bono
counsel are referring to pages 26-page 30. May we be granted an expedited
hearing/conference as soon as possible, that would be such a wonderful, BLESSING, as
we all can get to the absolute truth. In such forthrightness, if you do make the
appointment, as you ask an attorney to take the appointment, we would like AGAIN,
and AGAIN, AGAIN, please Anna Marie Richmond, ESQ. Lafayette Building, Buffalo,
NY., to be our appointed pro bono counsel as she has had many successes in the United
States District Court Western District of New York SPECIALIZING IN CIVIL RIGHTS
VIOLATIONS, 42 USC 1983 POLICE MISCONDUCT, for police misconduct, excessive
force and civil rights violations as she is on a pro bono wheel, AMONG OTHER THINGS
AND HER ACCREDIDATIONS. WE speak for OURselves as she was our help in the
PRO SE Department are back in September 2019 she did help us put together our first
day of interrogatories and document requests that we had sent to Patrick Beath for the
city of Rochester, SHAWN JORDAN 614CV6719 so if you could please grant us an
expedited hearing so we can RECEIVE THE CORRECT LAWFUL TRUTHFUL
APPOINTMENT of ProBono COUNSEL, respectfully, with GOD

We are asking if it pleases the court, have a very blessed day!

, ff Best Regards,

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C. SANTIAGO VS. ciry OF ROCHESTER, ET AL

that.

MS. LAFFREDO: I never knew there was a
motion for summary judgment.

MAGISTRATE JUDGE PEDERSEN: Okay. Mr. Bock,
you want to print a docket sheet out?

MR. SANTIAGO: The attorney we had before
did not communicate with us at all, so that is why we
had to get rid of him, with all of the other attorneys
as well.

MS. LAFFREDO: And, also, if I may, when
Honorable Feldman was presiding before you, he had -- he
asked us, too, if we needed representation from the
Court, and we said yes. And what happened was Baase and
Pfalzgraf, came into our lives at that point. However,
that is the third set of attorneys that we've had, and,
at this point, we really need the Court to appoint an
attorney for us. We're at the point where I can only do
so much and I read the federal rules and the local rules
so many times and I pull out information and it's very
stressful. I'm only one person. I can't -- I need
somebody who is going to fight for Carlos and myself and
fight for what has happened and the violation of his
human rights and his civil rights. It has just

continued and continued years and years. It's a vicious

 

 
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C. SANTIAGO VS. CITY OF ROCHESTER, ET AL
cycle, and we really need to be represented by somebody
that has our best interest at hand.

MAGISTRATE JUDGE PEDERSEN: Did Judge
Feldman assign the Rupp firm?

MS. LAFFREDO: At that point, I mean, he
stepped down.

MR. SANTIAGO: If you go back to the
minutes, go back in the minutes.

MS. LAFFREDO: He stepped down and he said
to do my best and gather as much as I could and do the
best that I could and he would address it at a later
time and then he stepped down and there was a woman that
we worked with in Buffalo, and we asked if she could be
-- I had written a document and turned it into the
Court, if she could be the representation for Carlos and
I. I had spelled her last name wrong. It's not Ann
Marie Richardson, it's Ann Marie Richards, and she works
pro bono for U.S. District Court. And I asked for her
representation. I had spelled the last name wrong and
they said we don't know who that is, she doesn't exist.
And that is what I'm asking for. I'm asking for her
representation, if she is still part of the pro bono
action. However, you guys, I don't know if it's

considered pro bono if the United States District Court

 

 
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C. SANTIAGO VS. CITY OF ROCHESTER, ET AL
finds an attorney, but her name is Ann Marie Richmond,
not Richardson.

MAGISTRATE JUDGE PEDERSEN: Okay. I'm just
looking through the docket here. Okay. So you were
represented by counsel as of May 22, 2020, because Judge
Geraci mentions that in his text order, so counsel
probably made an appearance prior to that. Motion for
leave to proceed in forma pauperis. It doesn't look
like this was referred to Judge Feldman. It sat for
guite a while. You were granted --

MS. LAFFREDO: It was the date that we were
in front of Judge Feldman quite some time ago.

MAGISTRATE JUDGE PEDERSEN: This case was --
-- the District Judge Geraci granted in forma pauperis
on November 22, 1919. Ordered you to file an amended
Complaint. You requested extended time to do that and
then you filed your amended Complaint, February 13 of
2020. On May 22, 2020 ECF No. 8, if you look at No. 8,
"Plaintiffs now represented by counsel filed an amended
complaint ECF No. 7: "Because Plaintiffs are no longer
proceeding pro se, the Court is no longer required to
screen the amended Complaint, therefore, the Clerk of
Court shall issue a summons and shall cause the United

States Marshal to serve the Defendants. So ordered."

 

 
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1 C. SANTIAGO VS. CITY OF ROCHESTER, ET AL
2 Signed by Judge Geraci. Summons was issued and there
3 was an acknowledgement of service. Answer was filed

4 July 6th, 2020. And then on July 7th, 2020, the case
5 was assigned to me because I took office November 6th,

6 2019. So this particular case was never before Judge

7 Feldman. And we had a status conference.

8 MS. LAFFREDO: Right. It was prior to all

9 of this happening when we were in front of Judge

10 Feldman, so it was probably --

11 MAGISTRATE JUDGE PEDERSEN: Probably on the

12 ‘14 case.

13 MS. LAFFREDO: Tt was for the '14 case.

14 MAGISTRATE JUDGE PEDERSEN: Yeah, probably

15 on the '14 case. So there is no request for

16 representation in this case. Is that something you
17 would like to make?

18 MS. LAFFREDO: Yes, please. For all of
19 MAGISTRATE JUDGE PEDERSEN: All of the
20 cases?

21 MS. LAFFREDO: Yes.

22 MAGISTRATE JUDGE PEDERSEN: So what I

23 suggest what you do is file a motion in each of the

24 cases. That will probably disrupt the schedule again.

55, MS. LAFFREDO: T understand. We do need

 

 

 
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C. SANTIAGO VS. CITY OF ROCHESTER, ET AL
representation, so whatever needs to happen first.

MAGISTRATE JUDGE PEDERSEN: Let me tell you
something off of the record for a moment.

(Whereupon, there was a discussion off the
record.)

THE CLERK: One moment, your Honor. We are
back on the record.

MAGISTRATE JUDGE PEDERSEN: While off the
record, we had a brief discussion about the prior
attorney's withdrawal and I informed both Plaintiffs if
they wish to make a motion for appointment of counsel
pro bono, they may do so in each of these cases, that it
may disrupt the schedule that we're putting in place,
but so be it. The only thing I see pending in case No.
6859 is a motion filed on October 16th, 2020, docket No.

21, and it's titled "Motion to Dismiss for Failure to

State a Claim." Let me make sure that is really what it
is. We're looking at the Notice of Motion signed by Mr.
Noone and it's looking for 12(c) relief. It's not a

summary judgment, it's a 12(c).

MR. NOONE: Yes.

MAGISTRATE JUDGE PEDERSEN: Okay. So
pending 12(c) motion. And, Ms. Laffredo, if you read

the rules, you understand the difference between Rule 12

 

 
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Case 6:14-cv-0

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Case 6:14-cv-06719-FPG-MJP Document 134 Filed 10/21/21 Page 21 of 23

UNITED STATES DISTRICT COURT
Western District of New York

 

Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, NY 14202-3350

 

Amanda G. Williams, Esq. (716) 551-1511
Pro Bono Program Administrator Amanda_Williams@nywd.uscourts.gov
Melissa Laffredo

37 Linnet Street
Rochester, NY 14613

September 10, 2021

Notices of Appointment and Client Acknowledgement, Re: Santiago, et al., v. City of Rochester Police Dept., et
al, 19-cv-6860

Dear Ms. Laffredo:

As you are aware, Judge Pedersen issued an order on August 31, 2021 (ECF No. 37), authorizing a

limited-scope appointment of pro bono counsel in the above-referenced matter to represent you to conduct
discovery.

The Court has selected Michael Wolford, Esq., to represent you pro bono, in this matter for the limited
scope described above. Attached please find two copies of the “Notice of Appointment and Client
Acknowledgement” required by L.R. Civ. P. 83.8(C)(2). One copy is for you to keep for your records and the
other is for you to read, sign, and return directly to me, before Mr. Wolford may be formally appointed as pro
bono counsel in this matter by the Court for the limited purpose described in ECF No. 37. If possible, you may
scan and email me a copy of the signed Notice, in lieu of sending a hard copy by mail to the address listed
above. If you do not return a signed copy of the attached form within twenty-one business days from the date of
this letter by October 12, 2021, no pro bono appointment will be made.

Once Judge Pedersen issues an order formally appointing Michael Wolford, Esq., as pro bono counsel in
this matter, he will contact you directly. In the meantime, please do not attempt to contact Mr. Wolford. If you
have any questions regarding the Court’s pro bono appointment process, please feei free to contact me.

Sincerely,
da G. Williams, Esq.

Pro Bono Program Administrator
United States District Court for the Western District of New York
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Amanda G. Williams, Esq. (716) 551-1511
Pro Bono Program Administrator Amanda_Williams@nywd.uscourts.gov

Melissa Laffredo
37 Linnet Street
Rochester, NY 14613

October 15, 2021

Notice of Appointment and Client Acknowledgement, Re: Santiago, ct al., v. City of Rochester Police Dept., et
al, 19-cv-6860

Dear Ms. Laffredo:

As you are aware, Judge Pedersen issued an order on August 31, 2021 (ECF No. 37), authorizing a
limited-scope appointment of pro bono counsel in the above-referenced matter to represent you to conduct
discovery. Previously the Court selected Michael Wolford, Esq., of Bond Schoeneck & King, to represent you.
However, subsequent to the previous Notice that I sent you, Mr. Wolford’s law firm identified a conflict with
the defendants in this matter and he is no longer able to accept this pro bono appointment.

Therefore, the Court has selected Roy Mura, Esq., of the Mura Law Group, to represent you pro bono in
this matter for the limited scope described above. Attached please find two copies of the “Notice of
Appointment and Client Acknowledgement” required by L.R. Civ. P. 83.8(C)(2). One copy is for you to keep
for your records and the other is for you to read, sign, and return directly to me, before Mr. Mura may be
formally appointed as pro bono counsel in this matter by the Court for the limited purpose described in ECF No.
37. If possible, you may scan and email me a copy of the signed Notice, in lieu of sending a hard copy by mail
to the address listed above. If you do not return a signed copy of the attached form within twenty-one business
days from the date of this letter by November 15, 2021, no pro bono appointment will be made.

Once Judge Pedersen issues an order formally appointing Roy Mura, Esq., as pro bono counsel in this
matter, he will contact you directly. In the meantime, please do not attempt to contact Mr. Mura. If you have
any questions regarding the Court’s pro bono appointment process, please feel free to contact me.

Sincerely,

Amanda G. Williams, Esq.
Pro Bono Program Administrator
United States District Court for the Western District of New York
